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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 UNITED STATES,

        Plaintiff,
                                                           Case No.       11-20129
 v.

 SALVATORE BATTALGLIA (D-33),

        Defendant.
                                              /

      OPINION AND ORDER DENYING DEFENDANT’S MOTION FOR SEVERANCE

        Defendant Salvatore Battalgia again moves for severance. Dkt. #1229. The

 government opposes the motion. The court has written before on this motion, presented

 in other forms at other times, and the court’s analysis and conclusion remains the same.

 Nothing new is presented.

        A motion to sever is left to the discretion of the trial court. United States v.

 Lopez, 309 F.3d 966, 971 (6th Cir. 2002). “As a general rule, persons jointly indicted

 should be tried together because ‘there is almost always common evidence against the

 joined defendants that allows for the economy of a single trial.’” Id. (quoting United

 States v. Phibbs, 999 F.2d 1053, 1067 (6th Cir.1993)). “Severance should be granted

 ‘only if there is a serious risk that a joint trial would compromise a specific trial right of

 one of the defendants, or prevent the jury from making a reliable judgment about guilt or

 innocence.’” Id. (quoting Zafiro v. United States, 506 U.S. 534, 539 (1993)). Defendant

 has not shown that any such risk exists here. As before, defendant still speaks in
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 generalities1 and fails to show that there is any serious risk of significant prejudice which

 overcomes the economy of a single trial. Accordingly,

           IT IS ORDERED that the motion to sever [Dkt. # 1229] is DENIED.


                                                                s/Robert H. Cleland
                                                               ROBERT H. CLELAND
                                                               UNITED STATES DISTRICT JUDGE

 Dated: July 24, 2015


 I hereby certify that a copy of the foregoing document was mailed to counsel of record
 on this date, July 24, 2015, by electronic and/or ordinary mail.

                                                                s/Lisa Wagner
                                                               Case Manager and Deputy Clerk
                                                               (313) 234-5522




           1
         The court notices, however, that Defendant’s counsel now acknowledge the
 existence of “tens of pages” of material in the discovery that pertains to Defendant’s
 apparent activities.


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